I don't often post political things on Facebook, but in this tumultuous time in our County and
Country, for those that have been asking for the past couple days where I stand, I put this forth:

1) I’ve known Sheriff Tony Spurlock for over 30 years, I respect what he has sacrificed in his
service to the citizens of Douglas County and I respect his desire to make the decisions he
believes are right for the community and for his own life.
2) With that said, I have been a registered Republican and GOP volunteer in Douglas County for
over two decades.
3) I will support and vote for conservative candidates that I think have the beliefs I do about
public safety, government, rights, the law, the constitution, and our Country.
4) In Douglas County, as it is in this nation, whoever is elected by the people, I will respect and
keep my service about public safety, law and order, the rights of ALL people, and ensure equal
protection under the law.
5) My husband and I have been LE Officers for a combined 70 years and I am proud of that
service and proud of our children’s desire to serve others in their life in the Ministry and Medical
fields.
6) I respect each person’s right to believe what they want, support who they want, and I will
NEVER hold my association, friendship, or love over them for such reasons.
7) Mostly, I believe that there is only one King and I will try to model my life and leadership
after His.




                                                                                 KLUTH_001419
                   SPURLOCK Motion for Summary Judgment, Exhibit F
